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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                                Dallas Division


John Anthony Castro
Plaintiff
v.                                                             3:18-cv-00573-N
                                                               Civil Action No.
Roy Andrew Berg, et al.
Defendant


                        CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,



John Anthony Castro
provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.
None




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.
John Anthony Castro
Castro & Co., LLC

Roy Andrew Berg
Alexander F. Marino
Moodys Gartner Tax Law, LLP
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                                                              Date:
                                                                                   3/22/2018
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Documents/Certificate of Interested Persons
